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10    Co-Lead Counsel for Plaintiffs
11    Plaintiffs’ Steering Committee Members Listed on Signature Page
12
                          UNITED STATES DISTRICT COURT
13
                         CENTRAL DISTRICT OF CALIFORNIA
14
15
      In re: ZF-TRW Airbag Control Units    MDL No. 2905
16    Products Liability Litigation
                                            Judge: John A. Kronstadt
17    ALL CASES
                                            MEMORANDUM OF POINTS AND
18                                          AUTHORITIES IN SUPPORT OF
                                            PLAINTIFFS’ MOTION FOR LEAVE
19                                          TO FILE SUPPLEMENTAL
                                            EVIDENCE FOR THE JANUARY 23,
20                                          2023 HEARING ON HONDA MOTOR
                                            CO., LTD.’S JURISDICTIONAL
21                                          CHALLENGE
22                                          Date: March 6, 2022
                                            Time: 10:00 A.M.
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                                            Dept.: Courtroom 10B
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                                                       PLAINTIFFS’ MOTION TO FILE NEW EVIDENCE
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 1                                I.    INTRODUCTION
 2         As the Court is aware, Defendant Honda Motor Co., Ltd. (“Honda Japan”)
 3   has moved to dismiss Plaintiffs’ Amended Class Action Complaint (“ACAC”) for
 4   lack of personal jurisdiction. See ECF 527, §I. Before the hearing on this motion—
 5   which is presently scheduled for January 23, 2022 (see ECF 579)—Plaintiffs move
 6   to supplement the factual record concerning Honda Japan’s jurisdictional contacts.
 7   Specifically, Plaintiffs ask the Court to consider new discovery materials obtained
 8   through a deposition notice served on Honda Japan’s wholly-owned U.S.
 9   subsidiaries, American Honda Motor Co., Inc. (“Honda USA”) and Honda
10   Development and Manufacturing of America, LLC (“Honda Engineering USA”).1
11   These materials, which are attached as exhibits to the accompanying Declaration of
12   John T. Nicolaou, include the transcript of a deposition taken on December 21,
13   2022 and three documents used during examination.
14         This new evidence confirms that Honda Japan had primary responsibility for
15   the relevant aspects of the design of the Honda Class Vehicles, and regularly issued
16   mandatory instructions that Honda’s American manufacturing plants must follow
17   when building Honda Class Vehicles.
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       Although Plaintiffs served this deposition notice on August 23, 2022—several
22   weeks before their opposition to Honda Japan’s motion to dismiss was due—the
     Domestic Honda Defendants first began providing discoverable information in
23   response to the notice in December 2022. See Exs. 2 and 3. In the interim, Plaintiffs
24   met and conferred telephonically with the Domestic Honda Defendants several
     times regarding the notice, including on September 23; October 24; November 28;
25   and December 7, 16 and 17. Originally, the Domestic Honda Defendants committed
26   to produce witnesses for topics 1 – 9 in Plaintiffs’ notice by late October or early
     November. When Defendants later claimed they could not meet this commitment,
27   Plaintiffs responded in good faith by agreeing to reschedule depositions on these
28   topics for December 2022 and January 2023.

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 1   affidavits or other discovery related to the jurisdictional issue. See Battle v.
 2   Taylor James, LLC, No. 21-cv-7915, 2022 WL 2162930, at *3 (C.D. Cal. June
 3   15, 2022) (citing Doe v. Unocal Corp., 248 F.3d 915, 922 (9th Cir. 2001)). Good
 4   cause exists to grant Plaintiffs’ motion to supplement the factual record on
 5   Honda Japan’s jurisdictional challenge because the proffered evidence shows
 6   that this Court has personal jurisdiction over Honda Japan, and the evidence was
 7   obtained after the briefing concluded.
 8         Deposition transcripts and discovery responses are axiomatic examples of the
 9   types of “recognized methods of discovery” materials that courts consider when
10   determining whether personal jurisdiction exists. Jobe v. ATR Mktg., Inc., 87 F.3d
11   751, 753 (5th Cir. 1996); Jones v Shac, LLC, No. 15-cv-1382, 2019 WL 4246681 at
12   *5-*6 (D.Nev. Sept. 6, 2019) (admitting deposition as supplemental evidence);
13   Chapman v. Krutonog, 256 F.R.D. 645, 650 (D. Haw. 2009) (granting jurisdictional
14   discovery in the form of a deposition); Pure, Ltd. v. Shasta Beverages, Inc., 691 F.
15   Supp. 1274, 1277 (D. Haw. 1988) (“In scrutinizing a motion to dismiss based upon
16   lack of personal jurisdiction, the court looks to the uncontroverted allegations of the
17   complaint, affidavits and depositions.”) (emphasis added).
18         Here, good cause exists to grant this motion because the relevant deposition
19   of Honda Japan’s domestic subsidiaries took place more than two months after
20   Plaintiffs filed their response in opposition to Honda Japan’s 12(b)(2) motion.
21   Courts have generally found that good cause exists to grant leave to file
22   supplemental evidence when the evidence was discovered after briefing concluded.
23   See FTC - Forward Threat Control, LLC v. Dominion Harbor Enterprises, LLC,
24   No. 19-cv-6590, 2020 WL 5545156, at *3 (N.D. Cal. Sept. 16, 2020) (admitting
25   supplemental evidence in opposition to motion to dismiss for lack of personal
26   jurisdiction when evidence was discovery produced after briefing was closed).
27         Moreover, the determination of personal jurisdiction is not fixed in stone at
28   the time of a motion to dismiss—a court is always free to revisit the issue of

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 1   personal jurisdiction if it later is revealed that the facts alleged in support of
 2   jurisdiction are in dispute. See Metcalfe v. Renaissance Marine, Inc., 566 F.3d 324,
 3   331 (3d Cir.2009). Allowing supplementation of the record with later-produced
 4   discovery that bears on the question of personal jurisdiction is thus consistent with
 5   Rule 1 of the Federal Rules of Civil Procedure, because it obviates the need for a
 6   post-hearing submission or later amendment of the complaint to incorporate the
 7   evidence. See LP Digital Sols. v. Signifi Sols., Inc., 921 F. Supp. 2d 997, 1003,
 8   1006-07 (C.D. Cal. 2013) (plaintiff established jurisdiction based on evidence
 9   submitted after briefing closed).
10         Because the transcript of the recent deposition and the relevant exhibits are
11   highly relevant to the issue of personal jurisdiction over Honda Japan and Plaintiffs
12   did not have the opportunity to introduce this evidence in their opposition to Honda
13   Japan’s motion to dismiss, Plaintiffs respectfully submit that supplementation of the
14   factual record is appropriate.
15                                    III.   CONCLUSION
16         For the foregoing reasons, the Court should grant Plaintiffs’ motion to
17   supplement the factual record on Honda Japan’s jurisdictional challenge.
18
19   Dated: January 12, 2023                  Respectfully submitted,
20
21                                            /s/ David Stellings
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                                                -6-          PLAINTIFFS’ MOTION TO FILE NEW EVIDENCE
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                                          -7-        PLAINTIFFS’ MOTION TO FILE NEW EVIDENCE
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on January 12, 2023, I electronically filed the foregoing
 3   document with the Clerk of the Court using the CM/ECF system which will send
 4   notification of such filing to all counsel of record, including counsel for
 5   Defendants.
 6
                                                     /s/ David Stellings
 7                                                   David Stellings
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